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                    UNITED STATES DISTRICT COURT
                    NORTHERN DISTRICT OF GEORGIA
                          NEWNAN DIVISION


SUSAN AMANDA BOHANNON,

      Plaintiff,

CAPTAIN DAVID GIBSON, in His                     CIVIL ACTION FILE
Individual and Official Capacities;              NO. 3:16-cv-39-TCB
SPALDING COUNTY, GEORGIA,

      Defendants.


    DEFENDANT GIBSON’S BRIEF IN SUPPORT OF MOTION FOR
                  SUMMARY JUDGMENT


      COMES NOW DAVID GIBSON, Defendant herein, and files and serves

this his Brief in Support of Motion for Summary Judgment, showing the Court as

follows:

                            I.    INTRODUCTION

      Discovery not only cleared up most of the vagaries in Plaintiff’s Amended

Complaint, it also provided testimonial evidence showing that no federal

constitutional or state law tort occurred within the applicable statute of

limitations. For those actions that do fall within the applicable statute of
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limitations, same do not rise to the level of an actionable federal constitutional or

state law tort, and summary judgment is warranted.

      This is the case of Susan Amanda Bohannon. She claims that since 2006,

she has been physically in the same place as Defendant (and former Spalding

County Sheriff’s Department Captain) David Gibson some seven-eight times, three

or four of them resulting in some form of sexual encounter – just one of those four

times occurring within the applicable statute of limitations.

      In the Facts section of this Brief, Defendant will address the alleged

encounters chronologically, according to the evidence, first addressing those

claims barred by the two-year statute of limitations. Defendant will then turn to

any allegation that may be actionable, time-wise.

      In his Argument and Citation of Authority, this Defendant will show why

the vast majority of Plaintiff’s claims are time-barred, and why the one instance

occurring within the limitations period by no means rises to the level of an

actionable tort of any kind. The merits of the case are addressed in accordance

with Defendant’s qualified immunity defense, raised ab initio since his first

appearance in the case.

      In all, Defendant is satisfied that the evidence in the case, supplanting the

now far-better explained (away) allegations set forth in Plaintiff’s Amended


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Complaint, simply do not show there exists any disputed material fact, and do not

show she is otherwise entitled to relief in this action. Summary judgment is

warranted.1

                                       II. FACTS

        A. Time-Barred Claims

        Plaintiff filed suit on February 29, 2016. For those 42 U.S.C. Sec. 1983

suits brought in the State of Georgia, there is a two-year statute of limitations,

rendering nearly all of Plaintiff’s claims time-barred.

              1. 2006

        In 2006, Plaintiff alleges that during a traffic stop, Defendant cuffed her

while she was outside the vehicle for having given him false birthdate

information. (Bohannon Dep. 63:5¬66:25). While she disagrees about whether

she in fact gave an improper date, there is no evidence that the police dispatch

information sent to Gibson showed a different birthdate for her.



    1
      Plaintiff sues Defendant Gibson in both his individual and official
capacities. A suit against a public official in his/her official capacity is nothing
more than another way of suing the public entity for whom that official
works. Kentucky v. Graham, 473 U.S. 159, 165 (1985). The suit here against
Gibson in his official capacity being redundant to the claim against Defendant Dix
in his official capacity, the official capacity claim against Gibson should be
dismissed. This, even if Dix is dismissed, as the proper Defendant there would in
fact be the public entity for whom Gibson worked.

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      Regardless, Defendant allegedly released Plaintiff on-site, purportedly

having agreed they would meet later to have sex. Plaintiff did not show. Id.

             2. 2007

      In 2007, Plaintiff had an encounter with Defendant when he was working as

a bouncer at a local bar called GTO’s. (Bohannon Dep., pp. 103-04) Plaintiff

testified she was there with her boyfriend, and they were both way too drunk to

drive. Defendant had addressed them both for dancing too provocatively on the

dance floor. Drunk, and her wearing no panties, the visual does not take much

imagination. (Bohannon Dep. 105:12-106:5)

      Later, when Plaintiff and her boyfriend were leaving, heading for his truck,

Defendant stopped them from getting into the vehicle. When they said they were

going to call for a certain service, Defendant supposedly told them it had shut

down for the night, and offered them a ride to their home. Plaintiff got in the front

seat, her boyfriend in the back. Id.

      During this ride, Defendant allegedly stuck his finger into Plaintiff’s

vagina. Whereas the Complaint indicates she did everything in her power to fend

him off, in her deposition, Plaintiff says she did the complete opposite, freezing up

and doing nothing to stop the encounter. (Bohannon Dep., pp. 106-07). Once




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home, she and the boyfriend argued about what happened, each wanting to know

why the other didn’t stop it. (Id.; 108:12-13).

               3. Traffic Stops, 2007; 2012

         Albeit contained in scattered testimony, Plaintiff alleges that Defendant

twice pulled her over for the specific purpose of having her commit sexual acts

with him. One time she did, the other she was able to talk him out of it. (77:23-

78:1).

         Of the few encounters (including once or twice in chance, non-traffic related

incidents) that happened during this time span, Plaintiff testified that Defendant

was constantly asking for sex, saying that he was tired of being “put off.” As

mentioned, she acceded to his requests during this time apparently only once – a

hand job. ( Id.).

         Within six months to a year of their initial encounter at GTO’s, Defendant

supposedly pulled her over and said that he had heard she was telling people about

their encounter in the car that night. According to Plaintiff, Defendant told her that

he would not lose his job, would not lose his family, and would fuck her up if she

told the “city” about what had happened. (Bohannon Dep. 76:2-4).

         Later, in 2012, in the second of the two traffic stops, Defendant supposedly

again threatened Plaintiff to keep quiet, this time to include vague reference to


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interfering with her children’s truancy cases, and her daughter’s rape case.

(Bohannon Dep. 78:20-79-10).

             4. 2010

      In 2010, Defendant purportedly came to Plaintiff’s home, where he was met

by several Bohannon family members (including two minors) and others (totaling

four (4) people), while supposedly performing a welfare check. (Bohannon Dep.

110:16-111:13; 113:20-22). Plaintiff testified the front door was open, but has no

idea who may have let him in that night. (Bohannon Dep. 112:12-14).

      At some point while he was there, he allegedly opened her bedroom door,

only to find her having sex with her boyfriend, with the back door to the house

open. (Bohannon Dep. 113:6-7). Gibson supposedly jawboned with the couple for

a minute and left without incident.

      B. Claims Accruing Inside, and Possibly Inside the Limitations Period

      Apparently, the two ran into each other a time or two in passing, Defendant

asked for sex, told her he would not be put off, she would repel his advances, and

he would go off quietly into the night. There is even testimony he came over once

while she and her boyfriend were alone, shot the breeze, and left.




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        There is no evidence Defendant threatened Plaintiff at any time after the

2012 encounter. Gibson would push for sex, she would say no, and that would be

that.

        Once, though, on a night in 2015 Plaintiff was staying with two of her

friends. (Bohannon Dep. 46:1-9; 47:9-14). Gibson came to the residence, asked

for oral sex, she assented and the two walked out to his car. Id. But, not before

Defendant asked the male resident to follow behind them and pick her up when

they were done. Both residents got in a car and followed. (Bohannon Dep. 48:20-

23; 49:16-20).

        While       driving   down   the   road,   Plaintiff   performed   fellatio   on

Defendant. When they were done, he dropped her off, her friends picked her up,

and that was that.

        Plaintiff testified that Defendant did not force her to have oral sex with him,

did not force her out of the home and into the car. Rather, she just figured that

she’d go with him this time just to appease him. (Bohannon Dep. 144:3-8.)

             III.     ARGUMENT AND CITATION OF AUTHORITY

        A. Summary Judgment Standard

        A court must grant summary judgment “if the movant shows that there is no

genuine dispute as to any material fact and the movant is entitled to judgment as a


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matter of law.” Fed. R. Civ. P. 56(a). A factual dispute is not genuine unless, based

on the evidence presented, “a reasonable jury could return a verdict for the

nonmoving party.” Info. Sys. & Networks Corp. v. City of Atlanta, 281 F.3d 1220,

1224 (11th Cir. 2002) (quoting United States v. Four Parcels of Real Prop., 941

F.2d 1428, 1437 (11th Cir. 1991)); see also Anderson v. Liberty Lobby, Inc., 477

U.S. 242, 248 (1986). The movant may support his assertion that a fact is

undisputed by “citing to particular parts of materials in the record, including

depositions,   documents,    electronically   stored   information,   affidavits   or

declarations, stipulations (including those made for purposes of the motion only),

admissions, interrogatory answers, or other materials.” Fed. R. Civ. P. 56(c)(1)(A).

      The burden then shifts to the non-moving parties, who must rebut the

movant’s showing “by producing . . . relevant and admissible evidence beyond the

pleadings.” Josendis v. Wall to Wall Residence Repairs, Inc., 662 F.3d 1292, 1315

(11th Cir. 2011) (citing Celotex Corp. v. Catrett, 477 U.S. 317, 324 (1986)). The

non-moving parties do not satisfy their burden “if the rebuttal evidence ‘is merely

colorable, or is not significantly probative’ of a disputed fact.” Id. (quoting

Anderson, 477 U.S. at 249-50).




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      B. Color of Law

      Asking for (and sharing) sex is not in and of itself a Constitutional tort. But,

before getting into what is and is not substantively actionable, we first must

remember that for liability to ever attach in a Section 1983 case, Defendant had to

have been acting under color of law. 42 U.S.S. Sec. 1983.

      The only sexual encounter occurring within the applicable limitations period

is the fellatio Plaintiff performed on Gibson after he picked her up at her friends’

house as described in Section II. B. Claims Accruing Inside, and Possibly Inside

the Limitations Period. There, he walked in, asked her to leave with him

ostensibly to have sex, had the residents of the home follow them while they had

sex while driving, dropped her off, and the residents drover her home.

      Seedy? Perhaps. But to each their own. This does not in any way equate to

action taken under color of law.

      These allegations are parallel to those in the seminal Eleventh Circuit color

of law case, Almand v. Dekalb County, 114 F.3d 1204 (11th Cir. 1997). In

entertaining the color of law issue there, the Eleventh Circuit first said the

following:

      Federalism is important to this case. Section 1983 creates no
      substantive rights;  it merely provides a remedy for deprivations of
      federal statutory and constitutional rights. Whiting v. Traylor, 85
      F.3d 581, 583 (11th Cir. 1996) (citations omitted). As the Supreme

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      Court has cautioned, the “constitutional shoals that confront any
      attempt to derive from congressional civil rights statutes a body of
      general federal tort law,” demand that we vigilantly safeguard against
      converting section 1983 into “a font of tort law to be superimposed
      upon whatever systems may already be administered by the States.”
      Paul v. Davis, 424 U.S. 693, 701, 96 S. Ct. 1155, 1160, 47 L.Ed. 2d
      405 (1976) (internal citations omitted), reh'g denied, 425 U.S. 985, 96
      S. Ct. 2194, 48 L.Ed. 2d 811 (1976). Thus, section 1983 must not
      supplant state tort law;  liability is appropriate solely for violations of
      federally protected rights. Baker v. McCollan, 443 U.S. 137, 145-46,
      99 S. Ct. 2689, 2695, 61 L.Ed. 2d 433 (1979).

                                    .   .        .   .

      A successful section 1983 action requires that the plaintiff show she
      was deprived of a federal right by a person acting under color of state
      law. Harvey v. Harvey, 949 F.2d 1127, 1130 (11th Cir. 1992) (citing
      Flagg Brothers, Inc. v. Brooks, 436 U.S. 149, 155-56, 98 S. Ct. 1729,
      1733, 56 L.Ed. 2d 185 (1978)). A person acts under color of state
      law when he acts with authority possessed by virtue of his
      employment with the state. Edwards v. Wallace Community College,
      49 F.3d 1517, 1522 (11th Cir. 1995) (citing West v. Atkins, 487 U.S.
      42, 48-50, 108 S. Ct. 2250, 2255, 101 L.Ed. 2d 40 (1988)). Not all
      acts by state employees are acts under color of law. Id. at 1523.
      “The dispositive issue is whether the official was acting pursuant to
      the power he/she possessed by state authority or acting only as a
      private individual.” Id. (citing Monroe v. Pape, 365 U.S. 167, 183-
      84, 81 S. Ct. 473, 482, 5 L.Ed. 2d 492 (1961), overruled on other
      grounds by Monell v. Department of Social Servs., 436 U.S. 658, 98
      S. Ct. 2018, 56 L.Ed. 2d 611 (1978)).

Almand, 103 F.3d at 1512.

      The Court in Almand was faced with a situation where a police officer came

to a residence on police business. Once inside, he pressed she who would become

the victim, for sex. She declined, and he left. Momentarily. The officer then

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busted down the door, came in, and raped her. The Court found this act did not

constitute action taken under color of law.

      This Court should find the same here.

      C. Statute of Limitations

      [A] State's personal injury statute of limitations should be applied to all 1983

claims." Owens v. Okure, 488 U. S. 235 (109 SC 573, 102 L.Ed.2d 594, 600)

(1989) (citations and punctuation omitted); Wilson v. Garcia, 471 U. S. 261 (105

SC 1938, 85 L.E.2d 254) (1985). Thus, the applicable limitation period is the two-

year period for personal injury set out in O.C.G.A. § 9-3-33. Williams v. City of

Atlanta, 794 F.2d 624 (11th Cir. 1986).

      D. Qualified Immunity

      Qualified immunity protects government officials unless the law is

“‘sufficiently clear’ that every ‘reasonable official would have understood that

what he is doing violates that right.’” Ashcroft v. al-Kidd, 131 S. Ct. 2074, 2083

(2011) (emphasis added) (quoting Anderson v. Creighton, 483 U.S. 635, 640

(1987)). "[All] but the plainly incompetent or those who knowingly violate the

law" are entitled to qualified immunity. Courson v. McMillian, 939 F.2d 1479,

1497 (11th Cir. 1991). "That qualified immunity protects government actors is the

usual rule; only in exceptional cases will government actors have no shield against


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the claims made against them in their individual capacities." Haire v. Thomas, 219

F. App'x 844, 845 (11th Cir. 2006) (per curiam) (quoting Williams v. Consol. City

of Jacksonville, 381 F.3d 1298, 1299 (11th Cir. 2004)).

      For qualified immunity to apply, an official must first establish that he was

acting within the scope of his discretionary authority. Keating v. City of Miami,

598 F.3d 753, 762 (11th Cir. 2010); Lee v. Ferraro, 284 F.3d 1188, 1194 (11th Cir.

2002). Discretionary authority “include[s] all actions of a government official that

(1) were undertaken pursuant to the performance of his duties, and (2) were within

the scope of his authority.” Jones v. Fransen, 857 F.3d 843, 851 (11th Cir. 2017).

      Plaintiff specifically claims that all actions on Gibson’s part were taken, and

advanced because of his role as Captain in the Sheriff’s Office. As a supervisor to

most, actions effecting the terms and conditions of underlings’ employment is a

discretionary act within the meaning of the qualified immunity standard. More,

this issue was resolved in Gibson’s favor at the 12(b)(6) stage.

      With this initial hurdle cleared, the burden shifts to the Plaintiff to establish

a constitutional violation. Hendrix v. Bennett, 423 F.3d 1247, 1250; Vinyard v.

Wilson, 311 F.3d 1340, 1346 (11th Cir. ) Plaintiffs' burden involves a two-part

analysis. The plaintiff must establish that "(1) the officers violated a constitutional

right, and (2) that right was clearly established at the time of the


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incident." Garczynski v. Bradshaw, 573 F.3d 1158, 1166 (11th Cir. 2009). The

plaintiff must satisfy both parts of the test in order to overcome qualified

immunity. Keating, 598 F.3d at 762.

      For the right to be "clearly established," "existing precedent must have

placed the statutory or constitutional question beyond debate." White v. Pauly, 137

S. Ct. 548, 550, 196 L. Ed. 2d 463 (2017) (citation and quotation omitted

Id). “Clearly established law” should not be defined “at a high level of

generality.” Ashcroft v. al–Kidd, 563 U.S. 731, 742, 131 S.Ct. 2074, 179 L.Ed.2d

1149 (2011). Rather, the clearly established law must be "particularized to the facts

of the case." White, 137 S. Ct. at 552.

      E. Plaintiff’s Equal Protection Claim Fails

      After application of the statute of limitations trims this case down, what we

have left is a couple of encounters where Gibson asks Plaintiff for sex and she

turns him down. Then, we have the one encounter where he picks her up from her

friends’ home to have oral sex while driving. That's it.

      Assuming arguendo action under color of law, Defendant is not sure how

this equates to a violation of the Equal Protection Clause as discrimination based




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on sex.2 Defendant is entitled to qualified immunity as there is no Constitutional

tort, and if there is, no clearly established law was on the books showing a similar

bright line had been crossed in similar circumstances.

       F. Plaintiff’s State Law Claims are Barred by Official Immunity

       If, as Plaintiff suggests, Gibson was asserting the authority of the law in

connection with his actions, then he is entitled to state law “official” immunity for

there being no evidence of actual malice or actual intent to harm her. The doctrine

of official immunity, offers public officers and employees limited protection from

suit in their personal capacity. Vidal v. Leavell, 333 Ga. App. 159 (2015).

       Official immunity protects individual public agents from personal liability

for discretionary actions taken within the scope of their official authority, and done

without actual malice or actual intent to injure. Georgia Courts have distinguished

this actual malice from "implied malice, which ... had been defined to mean

conduct exhibiting a reckless disregard for human life." (Punctuation and footnote

omitted.) Phillips v. Hanse, 281 Ga. 133, 136 (2006).



   2
     It is unclear whether Plaintiff is claiming that Gibson violated some other
Constitutional right besides the one based on sex discrimination under the Equal
Protection Clause. Out of an abundance of caution, Defendant notes he is moving
for summary judgment on all claims, asserting both that there has been no
constitutional tort here, and that he is otherwise entitled to dismissal for his not
having violated any clearly established Constitutional right.

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       [i]n the context of official immunity, actual malice requires a
       deliberate intention to do wrong and denotes express malice or malice
       in fact. Actual malice does not include implied malice, or the reckless
       disregard for the rights and safety of others. A deliberate intention to
       do wrong such as to constitute the actual malice necessary to
       overcome official immunity must be in the intent to cause the harm
       suffered by the plaintiffs. Likewise, the phrase actual intent to cause
       injury…mean[s] an actual intent to cause harm to the plaintiff, not
       merely an intent to do the act purportedly resulting in the claimed
       injury.

Vidal, supra, 333 Ga. App. at ___.

       We cannot imply malice. And, even if there was an “act purportedly

resulting in the claimed injury,” there is no evidence that there was any “actual

intent to cause harm” to the Plaintiff. Again, we may not imply malice based on

just the underlying tort itself.

       Gibson is entitled to official immunity for the state law wrongs alleged here,

and is thus likewise entitled to summary judgment.

                                   IV. CONCLUSION

       Going for a spin with a woman of questionable morals does not a

constitutional violation make, even if that occurs while a defendant is somehow

acting under color of law. Defendant Gibson is entitled to Summary Judgment.


       Respectfully submitted this 31st day of August, 2018.




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                                          HALL BOOTH SMITH, P.C.

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                    UNITED STATES DISTRICT COURT
                    NORTHERN DISTRICT OF GEORGIA
                          NEWNAN DIVISION


SUSAN AMANDA BOHANNON,

      Plaintiff,

CAPTAIN DAVID GIBSON, in His                        CIVIL ACTION FILE
Individual and Official Capacities;                 NO. 3:16-cv-39-TCB
SPALDING COUNTY, GEORGIA,

      Defendants.


                         CERTIFICATE OF SERVICE


      I hereby certify that I have this day served a copy of the within and

foregoing DEFENDANT GIBSON’S BRIEF IN SUPPORT OF MOTION

FOR SUMMARY JUDGMENT with the Clerk of the Court using the CM/ECF

system which will send notification of such filing addressed to:

       Eleanor M. Attwood, Esq.                      Mary Katz, Esq.
       LEGARE, ATTWOOD &                       Chambless, Higdon, Richardson,
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                                                    Macon, GA 31210
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         Respectfully submitted this 31st day of August, 2018.

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